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                          IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION
__________________________________________
                                               )
J.O.P., et al.,                                )
                                               )
                 Plaintiffs,                   )
                                               )
        v.                                     ) Case No. 8:19-cv-01944-SAG
                                               )
U.S. DEPARTMENT OF HOMELAND                    )
SECURITY, et al.                               )
                                               )
                 Defendants.                   )
__________________________________________)

                                      [Proposed] ORDER

UPON CONSIDERATION of Defendants’ Motion Vacate Section Two of the Court’s Order

Granting Plaintiffs’ Motion to Enforce the Settlement Agreement Or, In the Alternative, To

Stay Section Two Pending Appeal, it is this day      of May 2025, ORDERED that:

   1. Defendants’ Motion to Vacate Section Two of the Court’s Order Granting Plaintiffs’

         Motion to Enforce the Settlement Agreement is GRANTED; and

   2. Section Two of the Court’s April 23, 2025 Order, ECF No. 254, ordering Defendants to

         “to facilitate Class Member Cristian’s return to the United States to await the

         adjudication of his asylum application on the merits by USCIS under the terms of the

         Settlement Agreement” is VACATED.

Dated:
                                                    HON. STEPHANIE A. GALLAGHER
                                                    United States District Judge
